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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :      Case No. 21-cr-575 (JDB)
        v.                                     :
                                               :
DAVID JOHN LESPERANCE,                         :
CASEY CUSICK, and                              :
JAMES VARNELL CUSICK, JR.                      :
                                               :
                 Defendants                    :


                              UNITED STATES’ NOTICE
                     OF SUPPLEMENTAL SENTENCING MATERIALS

        In their sentencing memoranda (ECF Nos. 134, 135, 136), defendants contend, among

other things, that (1) Guideline § 2B2.3 – not § 2A2.4 – governs their respective convictions for

knowingly engaging in disorderly or disruptive conduct in a restricted building or grounds, in

violation of 18 U.S.C. § 1752(a)(2) (Count Two), see, e.g., ECF No. 134 at 3-7; and (2) that

restitution is “inapplicable” because “[m]erely seeing property destruction is insufficient for an

assessment of restitution,” id. at 8.

        In response to these claims, at sentencing, the government expects to rely on the following

materials, which the government hereby submits to the Court:

        1.       Exhibit 1: The transcript of the sentencing hearing in United States v. Vargas, No.

                 21-cr-47-RDM (D.D.C. Apr. 21, 2023), in which Judge Moss carefully considered

                 and rejected another January 6 defendant’s argument for applying Guideline

                 § 2B2.3 to convictions under 18 U.S.C. § 1752(a)(2). See United States v. Vargas,

                 No. 21-cr-47-RDM, Sent Tr. 6-24 (D.D.C. Apr. 21, 2023).1


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      Access to the Vargas transcript is currently restricted on Pacer. Accordingly, the
government will provide the transcript to the Court and defense counsel by email.
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       2.       Exhibit 2: A supplemental brief submitted by the government in Vargas addressing

                the same question. See United States v. Vargas, No. 21-cr-47-RDM, ECF No. 85

                at 1-6 (D.D.C. Apr. 6, 2023).

       3.       Exhibit 3: Documents supporting the PSRs’ determination (see, e.g., ECF No. 126

                at ¶¶ 31, 125-126) that Congress sustained a loss of approximately $2,923,080.05

                as a result of the January 6 attack:

                         Damages to the Capitol Building and Grounds

 Architect of the Capitol                                $1,177,254.03
 House Chief Administrative Officer                        $547,411.27
 Secretary of the Senate                                    $32,075.00
 Senate Sargent at Arms                                     $79,490.05
 Total                                                   $1,836,230.35

              Damages Incurred by the United States Capitol Police Department

 Continuation of Pay (COP)/Workers Comp
                                                         $1,086,849.70
 and Medical Treatment; Lost and Damaged
 Property

                                                Total

 Total for both groups                                   $2,923,080.05


October 11, 2023                       Respectfully submitted,

                                       MATTHEW M. GRAVES
                                       United States Attorney
                                       D.C. Bar No. 481052

                                       By:    /s/ Sonia W. Murphy
                                       SONIA W. MURPHY
                                       D.C. Bar. No. 483072
                                       Trial Attorney
                                       United States Department of Justice, Civil Division
                                           Detailed to the D.C. U.S. Attorney’s Office
                                       601 D Street NW
                                       Washington, D.C. 20530
                                       (202) 305-3067
                                       smurphy4@usa.usdoj.gov



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                      FRANCESCO VALENTINI
                      D.C. Bar No. 986769
                      Senior Counsel, Capitol Siege Section
                      U.S. Attorney’s Office for the District of Columbia
                      601 D Street NW
                      Washington, D.C. 20530
                      (202) 598-2337
                      francesco.valentini@usdoj.gov




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